This document was signed electronically on September 3, 2024, which may be different from its
entry on the record.



IT IS SO ORDERED.

Dated: September 3, 2024




                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:                                            )     Case No. 24-50262-AMK
                                                  )
         How to Get Flipping Rich, LLC,           )     Chapter 11
                                                  )
                     Debtor.                      )     Judge Alan M. Koschik

                                   ORDER DISMISSING CASE

          This matter came before this Court on the Motion of United States Trustee for Entry of an

Order Dismissing Chapter 11 Case Pursuant to 11 U.S.C. § 1112(b) (the “Motion”); and finding

that due and sufficient notice of the Motion has been given; and finding that the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and this is a core proceeding

under 28 U.S.C. § 157(b)(2); and after due deliberation and sufficient cause appearing therefore,

based upon the record, the Court finds that grounds exist to dismiss the above-captioned case.

Based upon the foregoing and on the record in this case, it is hereby:

          ORDERED, ADJUDGED and DECREED as follows:




24-50262-amk        Doc 61     FILED 09/03/24      ENTERED 09/03/24 13:20:41          Page 1 of 3
       1.      The Motion is GRANTED.

       2.      The above-captioned case is hereby DISMISSED.

       3.      The Debtor shall provide the United States Trustee with disbursement information

through the date of dismissal and pay all outstanding fees due to the United States Trustee

pursuant to 28 U.S.C. § 1930 within ten (10) days of the entry of this Order.


                                             ####


Prepared by:

ANDREW R. VARA
UNITED STATES TRUSTEE
REGIONS 3 & 9

/s/ Lauren C. Schoenewald
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24-50262-amk      Doc 61     FILED 09/03/24       ENTERED 09/03/24 13:20:41          Page 2 of 3
Parties to be served:

Via the Court’s Electronic Case Filing System:

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   •   Joshua Ryan Vaughan jvaughan@amer-collect.com, SAllman@AMER-
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And via regular United States Mail, postage pre-paid:

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       Towpath Credit Union
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       US Bank Trust Co., NA, as Trustee for Velocity Commercial
       Capital Loan Trust 2022-3
       191 South Lassale Street, 7th Floor
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24-50262-amk       Doc 61   FILED 09/03/24       ENTERED 09/03/24 13:20:41   Page 3 of 3
